                 Case 1:21-cv-02617-JMS-MG
JS 44 (Rev. 10/20)                         Document
                                         CIVIL COVER1 Filed
                                                       SHEET10/11/21 Page 1 of 21 PageID #: 1
The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the
purpose of initiating the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)
I. (a) PLAINTIFFS                                                                                      DEFENDANTS
                                                                                                      BEST BUY CO. INC, SEDGWICK CLAIMS MANAGEMENT
          SHEDRICK BOWES-NORTHERN                                                                     SERVICES INC., CORIE BARRY, ANDREW BONNELL(BEST BUY
                                                                                                      EMPLOYEE)
   (b)   County of Residence of First Listed Plaintiff     PORTER                                      County of Residence of First Listed Defendant                   HENNEPIN
                           (EXCEPT IN U.S. PLAINTIFF CASES)                                                                   (IN U.S. PLAINTIFF CASES ONLY)
                                                                                                       NOTE:                                                 FILED
                                                                                                                  IN LAND CONDEMNATION CASES, USE THE LOCATION
                                                                                                                  THE TRACT OF LAND INVOLVED.
                                                                                                                                                               OF

                                                                                                                                                                                    10/11/2021
   (c)   Attorneys (Firm Name, Address, and Telephone Number)                                           Attorneys (If Known)
      1101 CUMBERLAND CROSSING DRIVE #202                                                                 NEIL A. DAVIS                                                    U.S. DISTRICT COURT
                                                                                                                                                                        SOUTHERN DISTRICT OF INDIANA
      VALPARAISO, IN 46383                                                                                251 EAST OHIO STREET, SUITE 830                                  Roger A.G. Sharpe, Clerk
      312-292-1945                                                                                        INDIANAPOLIS, INDIANA 46204
II. BASIS OF JURISDICTION (Place an “X” in One Box Only)                                   III. CITIZENSHIP OF PRINCIPAL PARTIES (Place an “X” in One Box for Plaintiff
                                                                                                    (For Diversity Cases Only)                                    and One Box for Defendant)
  1    U.S. Government               3   Federal Question                                                                    PTF        DEF                                         PTF      DEF
         Plaintiff                         (U.S. Government Not a Party)                      Citizen of This State            1          1      Incorporated or Principal Place         4     4
                                                                                                                                                   of Business In This State

  2    U.S. Government               4   Diversity                                            Citizen of Another State            2          2   Incorporated and Principal Place           5         5
         Defendant                         (Indicate Citizenship of Parties in Item III)                                                           of Business In Another State

                                                                                              Citizen or Subject of a             3          3   Foreign Nation                             6         6
                                                                                                Foreign Country
IV. NATURE OF SUIT (Place an “X” in One Box Only)                                                                                 Click here for: Nature of Suit Code Descriptions.
          CONTRACT                                             TORTS                            FORFEITURE/PENALTY                       BANKRUPTCY                       OTHER STATUTES
  110 Insurance                    PERSONAL INJURY                  PERSONAL INJURY              625 Drug Related Seizure             422 Appeal 28 USC 158             375 False Claims Act
  120 Marine                       310 Airplane                    365 Personal Injury -             of Property 21 USC 881           423 Withdrawal                    376 Qui Tam (31 USC
  130 Miller Act                   315 Airplane Product                Product Liability         690 Other                                28 USC 157                        3729(a))
  140 Negotiable Instrument             Liability                  367 Health Care/                                                                                     400 State Reapportionment
  150 Recovery of Overpayment      320 Assault, Libel &                Pharmaceutical                                                 PROPERTY RIGHTS                   410 Antitrust
      & Enforcement of Judgment         Slander                        Personal Injury                                                 820 Copyrights                   430 Banks and Banking
  151 Medicare Act                 330 Federal Employers’              Product Liability                                               830 Patent                       450 Commerce
  152 Recovery of Defaulted             Liability                  368 Asbestos Personal                                               835 Patent - Abbreviated         460 Deportation
       Student Loans               340 Marine                          Injury Product                                                      New Drug Application         470 Racketeer Influenced and
       (Excludes Veterans)         345 Marine Product                  Liability                                                       840 Trademark                        Corrupt Organizations
  153 Recovery of Overpayment           Liability                 PERSONAL PROPERTY                       LABOR                        880 Defend Trade Secrets         480 Consumer Credit
      of Veteran’s Benefits        350 Motor Vehicle               370 Other Fraud               710 Fair Labor Standards                  Act of 2016                      (15 USC 1681 or 1692)
  160 Stockholders’ Suits          355 Motor Vehicle               371 Truth in Lending              Act                                                                485 Telephone Consumer
  190 Other Contract                   Product Liability           380 Other Personal            720 Labor/Management                 SOCIAL SECURITY                       Protection Act
  195 Contract Product Liability   360 Other Personal                  Property Damage               Relations                        861 HIA (1395ff)                  490 Cable/Sat TV
  196 Franchise                        Injury                      385 Property Damage           740 Railway Labor Act                862 Black Lung (923)              850 Securities/Commodities/
                                   362 Personal Injury -               Product Liability         751 Family and Medical               863 DIWC/DIWW (405(g))                Exchange
                                       Medical Malpractice                                           Leave Act                        864 SSID Title XVI                890 Other Statutory Actions
      REAL PROPERTY                  CIVIL RIGHTS                 PRISONER PETITIONS             790 Other Labor Litigation           865 RSI (405(g))                  891 Agricultural Acts
  210 Land Condemnation            440 Other Civil Rights          Habeas Corpus:                791 Employee Retirement                                                893 Environmental Matters
  220 Foreclosure                  441 Voting                      463 Alien Detainee                Income Security Act              FEDERAL TAX SUITS                 895 Freedom of Information
  230 Rent Lease & Ejectment       442 Employment                  510 Motions to Vacate                                              870 Taxes (U.S. Plaintiff             Act
  240 Torts to Land                443 Housing/                        Sentence                                                            or Defendant)                896 Arbitration
  245 Tort Product Liability           Accommodations              530 General                                                        871 IRS—Third Party               899 Administrative Procedure
  290 All Other Real Property      445 Amer. w/Disabilities -      535 Death Penalty                 IMMIGRATION                           26 USC 7609                      Act/Review or Appeal of
                                       Employment                  Other:                        462 Naturalization Application                                             Agency Decision
                                   446 Amer. w/Disabilities -      540 Mandamus & Other          465 Other Immigration                                                  950 Constitutionality of
                                       Other                       550 Civil Rights                  Actions                                                                State Statutes
                                   448 Education                   555 Prison Condition
                                                                   560 Civil Detainee -
                                                                       Conditions of
                                                                       Confinement
V. ORIGIN (Place an “X” in One Box Only)
  1 Original             2 Removed from                   3     Remanded from               4 Reinstated or             5 Transferred from      6 Multidistrict                     8 Multidistrict
    Proceeding             State Court                          Appellate Court               Reopened                    Another District          Litigation -                      Litigation -
                                                                                                                          (specify)                 Transfer                          Direct File
                                     Cite the U.S. Civil Statute under which you are filing (Do not cite jurisdictional statutes unless diversity):
                                     PERSONAL INJURY, NEGLIGENCE, FAILURE TO PRODUCE EVIDENCE
VI. CAUSE OF ACTION                  Brief description of cause:
                                     INJURED AT STORE BY STORE EMPLOYEE
VII. REQUESTED IN                         CHECK IF THIS IS A CLASS ACTION                        DEMAND $                                    CHECK YES only if demanded in complaint:
     COMPLAINT:                           UNDER RULE 23, F.R.Cv.P.                                                                           JURY DEMAND:                    Yes           No
VIII. RELATED CASE(S)
                                         (See instructions):
      IF ANY                                                     JUDGE                                                                DOCKET NUMBER
DATE                                                               SIGNATURE OF ATTORNEY OF RECORD
           10/07/2021
FOR OFFICE USE ONLY

  RECEIPT #                     AMOUNT                                  APPLYING IFP                                    JUDGE                           MAG. JUDGE
                 Case 1:21-cv-02617-JMS-MG Document 1 Filed 10/11/21 Page 2 of 21 PageID #: 2
JS 44 Reverse (Rev. 10/20)


                     INSTRUCTIONS FOR ATTORNEYS COMPLETING CIVIL COVER SHEET FORM JS 44
                                                               Authority For Civil Cover Sheet

The JS 44 civil cover sheet and the information contained herein neither replaces nor supplements the filings and service of pleading or other papers as
required by law, except as provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is
required for the use of the Clerk of Court for the purpose of initiating the civil docket sheet. Consequently, a civil cover sheet is submitted to the Clerk of
Court for each civil complaint filed. The attorney filing a case should complete the form as follows:

I.(a)    Plaintiffs-Defendants. Enter names (last, first, middle initial) of plaintiff and defendant. If the plaintiff or defendant is a government agency, use
         only the full name or standard abbreviations. If the plaintiff or defendant is an official within a government agency, identify first the agency and then
         the official, giving both name and title.
  (b)    County of Residence. For each civil case filed, except U.S. plaintiff cases, enter the name of the county where the first listed plaintiff resides at the
         time of filing. In U.S. plaintiff cases, enter the name of the county in which the first listed defendant resides at the time of filing. (NOTE: In land
         condemnation cases, the county of residence of the "defendant" is the location of the tract of land involved.)
  (c)    Attorneys. Enter the firm name, address, telephone number, and attorney of record. If there are several attorneys, list them on an attachment, noting
         in this section "(see attachment)".

II.      Jurisdiction. The basis of jurisdiction is set forth under Rule 8(a), F.R.Cv.P., which requires that jurisdictions be shown in pleadings. Place an "X"
         in one of the boxes. If there is more than one basis of jurisdiction, precedence is given in the order shown below.
         United States plaintiff. (1) Jurisdiction based on 28 U.S.C. 1345 and 1348. Suits by agencies and officers of the United States are included here.
         United States defendant. (2) When the plaintiff is suing the United States, its officers or agencies, place an "X" in this box.
         Federal question. (3) This refers to suits under 28 U.S.C. 1331, where jurisdiction arises under the Constitution of the United States, an amendment
         to the Constitution, an act of Congress or a treaty of the United States. In cases where the U.S. is a party, the U.S. plaintiff or defendant code takes
         precedence, and box 1 or 2 should be marked.
         Diversity of citizenship. (4) This refers to suits under 28 U.S.C. 1332, where parties are citizens of different states. When Box 4 is checked, the
         citizenship of the different parties must be checked. (See Section III below; NOTE: federal question actions take precedence over diversity
         cases.)

III.     Residence (citizenship) of Principal Parties. This section of the JS 44 is to be completed if diversity of citizenship was indicated above. Mark this
         section for each principal party.

IV.      Nature of Suit. Place an "X" in the appropriate box. If there are multiple nature of suit codes associated with the case, pick the nature of suit code
         that is most applicable. Click here for: Nature of Suit Code Descriptions.

V.       Origin. Place an "X" in one of the seven boxes.
         Original Proceedings. (1) Cases which originate in the United States district courts.
         Removed from State Court. (2) Proceedings initiated in state courts may be removed to the district courts under Title 28 U.S.C., Section 1441.
         Remanded from Appellate Court. (3) Check this box for cases remanded to the district court for further action. Use the date of remand as the filing
         date.
         Reinstated or Reopened. (4) Check this box for cases reinstated or reopened in the district court. Use the reopening date as the filing date.
         Transferred from Another District. (5) For cases transferred under Title 28 U.S.C. Section 1404(a). Do not use this for within district transfers or
         multidistrict litigation transfers.
         Multidistrict Litigation – Transfer. (6) Check this box when a multidistrict case is transferred into the district under authority of Title 28 U.S.C.
         Section 1407.
         Multidistrict Litigation – Direct File. (8) Check this box when a multidistrict case is filed in the same district as the Master MDL docket.
         PLEASE NOTE THAT THERE IS NOT AN ORIGIN CODE 7. Origin Code 7 was used for historical records and is no longer relevant due to
         changes in statue.

VI.      Cause of Action. Report the civil statute directly related to the cause of action and give a brief description of the cause. Do not cite jurisdictional
         statutes unless diversity. Example: U.S. Civil Statute: 47 USC 553 Brief Description: Unauthorized reception of cable service.

VII.     Requested in Complaint. Class Action. Place an "X" in this box if you are filing a class action under Rule 23, F.R.Cv.P.
         Demand. In this space enter the actual dollar amount being demanded or indicate other demand, such as a preliminary injunction.
         Jury Demand. Check the appropriate box to indicate whether or not a jury is being demanded.

VIII. Related Cases. This section of the JS 44 is used to reference related pending cases, if any. If there are related pending cases, insert the docket
      numbers and the corresponding judge names for such cases.

Date and Attorney Signature. Date and sign the civil cover sheet.
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 INSD Pro Se Civil Generic Complaint (unrelated to imprisonment) 12/19 (Adapted from AO Pro Se 1 (Rev. 12/16) Complaint for a Civil Case)



                                         UNITED STATES DISTRICT COURT
                                                                            for the
                                                         SouthernDistrict
                                                        __________ District  of Indiana
                                                                          of __________



                                                                                )       Case No.                     1:21-cv-02617-JMS-MG
                                                                                )                         (to be filled in by the Clerk’s Office)
     SHEDRICK BOWES-NORTHERN                                                    )

                               Plaintiff(s)                       )
                                                                  )
(Write the full name of each plaintiff who is filing this complaint.                   Jury Trial: (check one)          ’ Yes        ’ No
If the names of all the plaintiffs cannot fit in the space above,
please write “see attached” in the space and attach an additional )
page with the full list of names.)                                )
                               -v-                                )
BEST BUY CO. INC,                                                 )
SEDGWICK CLAIMS MANAGEMENT SERVICES INC., )
CORIE BARRY,                                                      )
ANDREW BONNELL(BEST BUY EMPLOYEE)                                 )
                           Defendant(s)
(Write the full name of each defendant who is being sued. If the
                                                                  )
names of all the defendants cannot fit in the space above, please )
write “see attached” in the space and attach an additional page   )
with the full list of names.)




                                                  COMPLAINT FOR A CIVIL CASE



                                                                        NOTICE

  Federal Rule of Civil Procedure 5.2 addresses the privacy and security concerns resulting from public access to
  electronic court files. Under this rule, papers filed with the court should not contain: an individual’s full social
  security number or full birth date, the full name of a person known to be a minor, or a complete financial account
  number. A filing may include only: the last four digits of a social security number, the year of an individual’s
  birth, a minor’s initials, and the last four digits of a financial account number.

  Except as noted in this form, plaintiff need not send exhibits, affidavits, grievances, witness statements,
  evidence, or any other materials to the Clerk’s Office with this complaint.

  In order for your complaint to be filed, it must be accompanied by the filing fee or an application to proceed in
  forma pauperis.




                                                                                                                                                    Page 1 of 6
              Case 1:21-cv-02617-JMS-MG Document 1 Filed 10/11/21 Page 4 of 21 PageID #: 4
     INSD Pro Se Civil Generic Complaint (unrelated to imprisonment) 12/19 (Adapted from AO Pro Se 1 (Rev. 12/16) Complaint for a Civil Case)




I.           Basis for Jurisdiction

             Federal courts are courts of limited jurisdiction (limited power). Generally, only two types of cases can be heard
             in federal court: cases involving a federal question and cases involving diversity of citizenship of the parties.
             Under 28 U.S.C. § 1331, a case arising under the United States Constitution or federal laws or treaties is a federal
             question case. Under 28 U.S.C. § 1332, a case in which a citizen of one State sues a citizen of another State or
             nation and the amount at stake is more than $75,000 is a diversity of citizenship case. In a diversity of citizenship
             case, no defendant may be a citizen of the same State as any plaintiff.

             What is the basis for federal court jurisdiction? (check all that apply)
                      ’ Federal question                                     ’ Diversity of citizenship


             Fill out the paragraphs in this section that apply to this case.


             A.         If the Basis for Jurisdiction Is a Federal Question

                        List the specific federal statutes, federal treaties, and/or provisions of the United States Constitution that are
                        at issue in this case.


CIVIL RIGHTS VIOLATION



             B.         If the Basis for Jurisdiction Is Diversity of Citizenship

                        1.         The Plaintiff(s)

                         a.         If the plaintiff is an individual:
                                    The plaintiff, (name)         SHEDRICK BOWES-NORTHERN___, is a citizen of
                                    the State of (name)_______ INDIANA                                          , OR is a citizen of
                                     (foreign nation)

                        b.         If the plaintiff is a corporation, partnership, or other entity:
                                   The plaintiff, (name) ____________________________________________, is incorporated under

                                   the laws of the State of (name)                                                                   _, and has its
                                   principal place of business in the State of (name)                                                                 .
                                   Or is incorporated under the laws of (foreign nation)                                                              ,
                                   and has its principal place of business in (name)                                                                      .

                    (If more than one plaintiff is named in the complaint, attach an additional page providing the same
                    information for each additional plaintiff.)



                                                                                                                                                              Page 2 of 6
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  INSD Pro Se Civil Generic Complaint (unrelated to imprisonment) 12/19 (Adapted from AO Pro Se 1 (Rev. 12/16) Complaint for a Civil Case)



                     2.         The Defendant(s)

                                a.         If the defendant is an individual:
                                           The defendant, (name)                                                      , is a citizen of

                                           the State of (name)                                                      , OR is a citizen of
                                            (foreign nation)                                                                           .



                                b.         If the defendant is a corporation, partnership, or other entity:
                                                                     BEST BUY CO. INC
                                           The defendant, (name) _________________________________________ , is incorporated under
                                           the laws of the State of (name)       MINNESOTA              , and has its
                                           principal place of business in the State of (name) MINNESOTA                                            .
                                           Or is incorporated under the laws of (foreign nation)                                                   ,
                                           and has its principal place of business in (name)                                                           .

                                (If more than one defendant is named in the complaint, attach an additional page providing the
                                same information for each additional defendant.)


                     3.         The Amount in Controversy

                                The amount in controversy–the amount the plaintiff claims the defendant owes or the amount at
                                stake–is more than $75,000, not counting interest and costs of court, because (explain):

 $2,000,000
___________________________________________________________________________________________________________
___________________________________________________________________________________________________________
___________________________________________________________________________________________________________


 II.      The Parties to This Complaint
          A.         The Plaintiff(s)

                     Provide the information below for each plaintiff named in the complaint. Attach additional pages if
                     needed.
                                Name                                     SHEDRICK BOWES-NORTHERN
                                Street Address                        1101 CUMBERLAND CROSSING DRIVE #202
                                City and County                          VALPARAISO, UNITED STATES
                                State and Zip Code                      INDIANA 46383
                                Telephone Number                        312-292-1945
                                E-mail Address                          SHEDRICKCHILDREN@GMAIL.COM



                                                                                                                                             Page 3 of 6
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On May 16th,2020, I was at Best Buy located at 2490 E 79th Ave, Merrillville, IN
46410. I came to the store to return a tv and purchase a new iPhone. When I was
waiting for a Best Buy employee to do an exchange, another BestBuy employee
walked past me and hit my left knee with a hard plastic sandwich board sign. The
Best Buy employee said that he was rushing to get inside when he hit me in my
left knee. My left knee started hurting as I was standing in front of Best Buy. I
asked Best Buy supervisor Andrew Bonnell if they had any icepacks and if I could
                                       BEST
sit down in a wheelchair in front of the storeBUY  CO. INC
                                               entrance.   Andrew Bonnell told me
yes; I could sit in the wheelchair. Andrew Bonnell asked me did I want to fill out a
                                       7601 PENN AVE. S.
medical form for my injury. I told him yes as I was filling out the medical injury
                                      RICHFIELD,
form. My knee pain started to get worse.   Me beingUNITED      STATES
                                                      a diabetic  and having high
blood pressure, I know the injury couldMINNESOTA      55423
                                         quickly worsen.   I know that I could easily
                                       888-237-8289
damage something and lose body parts. I asked Andrew Bonnell can he call 911
for me to receive the proper medical attention I needed. Andrew Bonnell said
what's wrong with my phone, that I can't call 911.
I told Best Buy manager Andrew Bonnell that I left my Bluetooth headset in the
                                      SEDGWICK CLAIMS MANAGEMENT SERVICES INC
car, and my phone only works with my headset. Which is one of the reasons I was
coming to get a new phone. Andrew Bonnell stated he's not calling an ambulance
                                       8125 SEDGWICK WAY
cause Best Buy will be responsible for the bill. I told Andrew Bonnell that my
                                      MEMPHIS, UNITED STATES
phone doesn't work without Bluetooth, that's why I'm purchasing a new phone.
                                       TENNESSEE 38125
Best Buy manager Andrew Bonnell said that I could use a wheelchair to get to my
                                       901-415-7400
car the best way I could. I started panicking as the pain got worse. I texted a
friend asking him to call the police to Best Buy. He didn't see the text until later,
he said. The Best Buy employees just stood there looking at me as I screamed for
help when cars were going past. I called 911 and hung up, knowing that they
                                       ANDREW
would come if they got a call to the location  theBONNELL
                                                    call came from. The police arrived
approximately 10-15 minutes after I BEST
                                       called.BUY
                                               WhenMANAGER/SUPERVISOR
                                                      Hobart police officers T.
                                       7601   PENN    AVE.
Creighton and Erik Herbert arrived. BestBuy manager Andrew   S.    Bonnell lied to
them and said I never asked him to callRICHFIELD,
                                          help for me.UNITED     STATES
                                                         In the video I'm providing,
you could see Best Buy manager Andrew  MINNESOTA
                                            Bonnell and 55423
                                                           another Best Buy employee
look at me in pain.                     888-237-8289

Best Buy manager Andrew Bonnell told Hobart police officer Erik Herbert that he
offered me help. But I declined the help he provided, which wasn't true. I told the
Hobart officer, Erik Herber, I needed an ambulance. Officer Erik Herbert called an
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ambulance for me. I requested the officer to arrest the Best Buy employee for
hitting me with the sign and being negligent in hurting me. I also requested a
sergeant to come to the hospital to press charges against the Best Buy employee.
The sergeant never showed up at the hospital. When I asked why the Hobart
police department sergeant never showed up. Hobart police department stated
that the sergeant went to the wrong hospital.
                       SEE ATTACHMENTS
My back started hurting when I was in the hospital bed. The pain from my knee
had my body in sharp pain from the hard plastic sandwich sign. In the hospital,
the doctor told me that I had a contusion on my knee bone. I asked the doctor if it
was something that would take some time to heal. The doctor said that it
depends on how my body adapts to the healing process. The doctor said that me
being a diabetic and having other health issues that could affect the Contusion
injury healing process. The doctor said it's hard to put a time frame on the knee
injury. I was given a pain medication called Toradol and released from the
hospital. When I left the hospital, I had to catch a uber to get back to my vehicle
that was still in the Best Buy parking lot. When I finally got back to my hotel room.
My mother called me and told me that my brother was killed at 5 am. I thought to
myself, what could get worse from this point. First, I was hit in the knee and
denied medical help. Then I'm taking to the hospital, having no other choice due
to the severity and pain and doing a deadly pandemic. Me being a diabetic, having
high blood pressure, allergy issues, and ADHD, I'm more likely to catch the fatal
Covid-19 virus than others.
On May 17th, 2020, I called Best Buy at 2490 E 79th Ave, Merrillville, IN 46410. I
spoke with Best Buy supervisor Ariel. She stated that she didn't know the name of
the supervisor that was on duty. I told Ariel that I wanted to see the footage of
me injured. Which I still haven't received.
On May 18th, 2020, I started physical therapy on my knee with Michael Villanueva
at NorthShore health center. I did physical therapy with Michael Villanueva for
three months. The treatment that was done is utilizing interferential, CMT, and
MT.                      SEE ATTACHMENT
On May 19th, 2020, Best Buy insurance company Sedgwick representative Leah
Dipaola contacted me by mail. She was saying that they would be handling the
claim. Leah Dipaola was the Sedgwick representative that contacted me. She
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stated that she was unable to reach me by phone, which wasn't true. I never
received a call or voicemail from Sedgwick or her. Despite calling them and
leaving them multiple messages through this long process. The file number
Sedgwick assigned to me is 30205238362-0001.
On November 25th,2020, I went on Twitter after leaving multiple messages for
Sedgwick to call me back. Best Buy representative Kayla wrote me a message
about contacting Sedgwick. She said that BestBuy was reaching out to Sedgwick
to see what was going on.
December 1st 2020-May 11th, 2021 I received treatment from Accord Chiropractic
by Dr. Thomas Redfield.       10/11/2021
On January 22nd, 2021, I sent Sedgwick a letter to preserve evidence. Sedgwick
never sent me the video or allowed me to view the video of their client assaulting
me.
Best Buy employees, managers, and claim's company negligence, discrimination,
misconduct, and slander caused me anxiety, mental distress, emotional trauma,
and other harmful effects. Best Buy allowed their employee to injury me and tried
to extort me for my medical records. I told Best Buy claims company, Sedgwick
that I would get my medical records. Sedgwick continued to pressure me to sign
medical release forms to settle the injury claim. Which I stated to them numerous
times that I didn't feel comfortable with doing. Sedgwick is familiar with HIPPA
medical laws. Best Buy still hasn't presented me any opportunities to view the
footage of me being assaulted, which is why I'm filing claims of Spoliation of
evidence against them, all defendants. I believe Best Buy employees did it
purposely since the manager Andrew Bonnell, and the employee name they
refuse to release denied me help. According to Best Buy policies, what happened
to me isn't acceptable. Best Buy employees damaged my reputation and caused
me embarrassment. I'm waiting on other doctor records and bills to come in. All
defendants willingly, purposely, and attentionally violated my civil rights by
discriminating against the medical condition they caused.
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       The defendant Best Buy owed me the duty of care for being injured by their
       employee. Best Buy employees        didn'tDistrict
                                        Southern   provide      that duty of care. Which also goes
                                                          of Indiana
       against their policies. I'm filing a civil rights claim because both Best Buy
    SHEDRICK BOWES-NORTHERN
       employees are white and denied me medical assistance for their negligence. Best
       Buy company employees' lack of care was the legal cause of my injuries.
BEST BUY CO. INC,
SEDGWICK CLAIMS MANAGEMENT SERVICES INC.,
       I'm seeking
CORIE BARRY, ANDREWaBONNELL
                     monetary   award
                            (BEST      for medical
                                  BUY EMPLOYEE)      bills, therapy bills, out-of-pocket
       expenses for medicines, lost wages, pain, and suffering, ambulance bill, mental
       injuries, emotional injuries, loss of your sex life, loss of enjoyment of activities,
       future lost earnings capacity, future medical expenses, the worsening of back car-
       accident existing condition, diminished earning capacity, future medical expenses
      BEST BUY CO. INC
       I will continue to experience each of these losses for an indefinite time into the
       future. I seek general, special, and punitive damages for these injuries and claims
       above. Plus interest, costs, and any other relief this court deems appropriate with
         The video footage from location located in Hobart, IN
       this civil complaint. I want the court to do something to detour future misconduct
       by Best Buy Company employees. I'm recommending changes to its personnel
        2490 and
       policies   E 79TH      AVE,
                      procedures  containing this civil complaint. I couldn't buy my children
       anything
        HOBART,    for Christmas,
                          IN 46342                         05/16/2020
                                  which Best Buy is the store I always shop at for their
       electronic Christmas gifts. I lost out on promotion contracts, time with my
       children and family, and touring opportunities. I'm requesting that Best Buy
       promote store # 0951 employees Arthur and Grifin to hire positions. These two
       employees are the reason why I still shop in BEST BUY. The store number I listed is
       the only store I shop at. Their customer service skills are outstanding. I know my
       injury would've been handled more carefully if I had been injured at store #0951.




 SHEDRICK BOWES-NORTHERN
 1101 CUMBERLAND CROSSING DRIVE #202 VALPARAISO, IN 46383 312-292-1945
       Case 1:21-cv-02617-JMS-MG Document 1 Filed 10/11/21 Page 10 of 21 PageID #: 10
INSD Pro Se Civil Generic Complaint (unrelated to imprisonment) 12/19 (Adapted from AO Pro Se 1 (Rev. 12/16) Complaint for a Civil Case)




        B.         The Defendant(s)

                   Provide the information below for each defendant named in the complaint, whether the defendant is an
                   individual, a government agency, an organization, or a corporation or other entity. For an individual
                   defendant, include the person's job or title (if known). Attach additional pages if needed.


                   Defendant No. 1
                              Name
                              Job or Title (if known)
                              Street Address
                              City and County
                              State and Zip Code
                              Telephone Number
                              E-mail Address (if known)


                   Defendant No. 2
                              Name
                              Job or Title (if known)
                              Street Address
                              City and County
                              State and Zip Code
                              Telephone Number
                              E-mail Address (if known)


                   Defendant No. 3
                              Name
                              Job or Title (if known)
                              Street Address
                              City and County
                              State and Zip Code
                              Telephone Number
                              E-mail Address (if known)




                                                                                                                                           Page 4 of 6
         Case 1:21-cv-02617-JMS-MG Document 1 Filed 10/11/21 Page 11 of 21 PageID #: 11
  INSD Pro Se Civil Generic Complaint (unrelated to imprisonment) 12/19 (Adapted from AO Pro Se 1 (Rev. 12/16) Complaint for a Civil Case)



 III.     Statement of Claim

          Write a short and plain statement of the claim. Do not make legal arguments. State as briefly as possible the facts
          showing that each plaintiff is entitled to the damages or other relief sought. State how each defendant was
          involved and what each defendant did that caused the plaintiff harm or violated the plaintiff's rights, including the
          dates and places of that involvement or conduct. If more than one claim is asserted, number each claim and write
          a short and plain statement of each claim in a separate paragraph. Attach additional pages if needed.

___________________________________________________________________________________________________________
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 IV.      Relief

          State briefly and precisely what damages or other relief the plaintiff asks the court to order. Do not make legal
          arguments. Include any basis for claiming that the wrongs alleged are continuing at the present time. Include the
          amounts of any actual damages claimed for the acts alleged and the basis for these amounts. Include any
          punitive or exemplary damages claimed, the amounts, and the reasons you claim you are entitled to actual or
          punitive money damages.

_________________________________________________________________________________________________________________
_________________________________________________________________________________________________________________
_________________________________________________________________________________________________________________
_________________________________________________________________________________________________________________
_________________________________________________________________________________________________________________
_________________________________________________________________________________________________________________




                                                                                                                                             Page 5 of 6
            Case 1:21-cv-02617-JMS-MG Document 1 Filed 10/11/21 Page 12 of 21 PageID #: 12
     INSD Pro Se Civil Generic Complaint (unrelated to imprisonment) 12/19 (Adapted from AO Pro Se 1 (Rev. 12/16) Complaint for a Civil Case)



     V.        Certification and Closing

               Under Federal Rule of Civil Procedure 11, by signing below, I certify to the best of my knowledge, information,
               and belief that this complaint: (1) is not being presented for an improper purpose, such as to harass, cause
               unnecessary delay, or needlessly increase the cost of litigation; (2) is supported by existing law or by a
               nonfrivolous argument for extending, modifying, or reversing existing law; (3) the factual contentions have
               evidentiary support or, if specifically so identified, will likely have evidentiary support after a reasonable
               opportunity for further investigation or discovery; and (4) the complaint otherwise complies with the
               requirements of Rule 11.

                I agree to provide the Clerk’s Office with any changes to my address where case–related papers may be served.
           SHEDRICK       BOWES-NORTHERN
             I understand that my failure to keep a current address on file with the Clerk’s Office may result in the dismissal
                of my case.

                Date of signing:                                  ____________________

BEST BUY CO. Signature
             INC,      of Plaintiff
SEDGWICK CLAIMS MANAGEMENT SERVICES INC.,
CORIE BARRY, ANDREW BONNELL(BEST BUY EMPLOYEE)




                                                                                                                                                Page 6 of 6
        Case 1:21-cv-02617-JMS-MG Document 1 Filed 10/11/21 Page 13 of 21 PageID #: 13
AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action


                                       UNITED STATES DISTRICT COURT
                                                                           for the
                                                       __________ District of __________

                                                                              )
                               Plaintiff                                      )
                                  v.                                          )        Civil Action No.
                                                                              )
                                                                              )
                              Defendant                                       )

                        SUBPOENA TO PRODUCE DOCUMENTS, INFORMATION, OR OBJECTS
                          OR TO PERMIT INSPECTION OF PREMISES IN A CIVIL ACTION

To:

                                                       (Name of person to whom this subpoena is directed)

    ’ Production: YOU ARE COMMANDED to produce at the time, date, and place set forth below the following
documents, electronically stored information, or objects, and to permit inspection, copying, testing, or sampling of the
material:



 Place:
               S.S.                      DAUGHTER                 9
                                                       Date and Time:
                                                                                $50-100
               T.S.                        SON                    8             $50-100
              A.M.                       DAUGHTER                 7                  $00
      ’ Inspection of Premises: YOU ARE COMMANDED to permit entry onto the designated premises, land, or
other property possessed or controlled by you at the time, date, and location set forth below, so that the requesting party
may inspect, measure, survey, photograph, test, or sample the property or any designated object or operation on it.

 Place:                                                                                Date and Time:



       The following provisions of Fed. R. Civ. P. 45 are attached – Rule 45(c), relating to the place of compliance;
Rule 45(d), relating to your protection as a person subject to a subpoena; and Rule 45(e) and (g), relating to your duty to
respond to this subpoena and the potential consequences of not doing so.

Date:

                                  CLERK OF COURT
                                                                                            OR

                                           Signature of Clerk or Deputy Clerk
                                                                                                                 714.00
                                                                                                                   Attorney’s signature


The name, address, e-mail address, and telephone number of the attorney representing (name of party)
                                                                        , who issues or requests this subpoena, are:


                               Notice to the person who issues or requests this subpoena
If this subpoena commands the production of documents, electronically stored information, or tangible things or the
inspection of premises before trial, a notice and a copy of the subpoena must be served on each party in this case before
it is served on the person to whom it is directed. Fed. R. Civ. P. 45(a)(4).
        Case 1:21-cv-02617-JMS-MG Document 1 Filed 10/11/21 Page 14 of 21 PageID #: 14
AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action (Page 2)

Civil Action No.

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 45.)

            I received this subpoena for (name of individual and title, if any)
on (date)                               .
                   SSI                                                                                                  714.00
            ’ I served the subpoena by delivering a copy to the named person as follows:


                                                                                           on (date)                                   ; or

            ’ I returned the subpoena unexecuted because:
                                                                                                                                              .

            Unless the subpoena was issued on behalf of the United States, or one of its officers or agents, I have also
            tendered to the witness the fees for one day’s attendance, and the mileage allowed by law, in the amount of
            $                                     .

My fees are $                                     for travel and $                              for services, for a total of $                .
                                                                                                $100.00
            I declare under penalty of perjury that this information is true.


Date:
                                                                                                   Server’s signature



                                                                                                 Printed name and title




                                                                                                    Server’s address

Additional information regarding attempted service, etc.:



                     Mental health                                                                   25-50.00
                     Electricity                                                                     125.00
                        Gas                                                                         50-75.00
        Case 1:21-cv-02617-JMS-MG Document 1 Filed 10/11/21 Page 15 of 21 PageID #: 15
AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action(Page 3)

                             Federal Rule of Civil Procedure 45 (c), (d), (e), and (g) (Effective 12/1/13)
(c) Place of Compliance.                                                                (ii) disclosing an unretained expert’s opinion or information that does

  (1) For a Trial, Hearing, or Deposition. A subpoena may command a
                                                                                                          675.00
                                                                                   not describe specific occurrences in dispute and results from the expert’s
                                                                                   study that was not requested by a party.
person to attend a trial, hearing, or deposition only as follows:                     (C) Specifying Conditions as an Alternative. In the circumstances
   (A) within 100 miles of where the person resides, is employed, or               described in Rule 45(d)(3)(B), the court may, instead of quashing or
regularly transacts business in person; or                                         modifying a subpoena, order appearance or production under specified
   (B) within the state where the person resides, is employed, or regularly        conditions if the serving party:
transacts business in person, if the person                                             (i) shows a substantial need for the testimony or material that cannot be
      (i) is a party or a party’s officer; or                                      otherwise met without undue hardship; and
      (ii) is commanded to attend a trial and would not incur substantial               (ii) ensures that the subpoenaed person will be reasonably compensated.
expense.
                                                                                   (e) Duties in Responding to a Subpoena.
 (2) For Other Discovery. A subpoena may command:
   (A) production of documents, electronically stored information, or                (1) Producing Documents or Electronically Stored Information. These
tangible things at a place within 100 miles of where the person resides, is        procedures apply to producing documents or electronically stored
employed, or regularly transacts business in person; and                           information:
   (B) inspection of premises at the premises to be inspected.                        (A) Documents. A person responding to a subpoena to produce documents
                                                                                   must produce them as they are kept in the ordinary course of business or
(d) Protecting a Person Subject to a Subpoena; Enforcement.                        must organize and label them to correspond to the categories in the demand.
               Town and Country
 (1) Avoiding Undue Burden or Expense; Sanctions. A party or attorney                              2010                           1,500
                                                                                      (B) Form for Producing Electronically Stored Information Not Specified.
                                                                                   If a subpoena does not specify a form for producing electronically stored
responsible for issuing and serving a subpoena must take reasonable steps          information, the person responding must produce it in a form or forms in
to avoid imposing undue burden or expense on a person subject to the               which it is ordinarily maintained or in a reasonably usable form or forms.
subpoena. The court for the district where compliance is required must                (C) Electronically Stored Information Produced in Only One Form. The
enforce this duty and impose an appropriate sanction—which may include             person responding need not produce the same electronically stored
lost earnings and reasonable attorney’s fees—on a party or attorney who            information in more than one form.
fails to comply.                                                                      (D) Inaccessible Electronically Stored Information. The person
                                                                                   responding need not provide discovery of electronically stored information
 (2) Command to Produce Materials or Permit Inspection.                            from sources that the person identifies as not reasonably accessible because
   (A) Appearance Not Required. A person commanded to produce                      of undue burden or cost. On motion to compel discovery or for a protective
documents, electronically stored information, or tangible things, or to            order, the person responding must show that the information is not
permit the inspection of premises, need not appear in person at the place of       reasonably accessible because of undue burden or cost. If that showing is
production or inspection unless also commanded to appear for a deposition,         made, the court may nonetheless order discovery from such sources if the
hearing, or trial.                                                                 requesting party shows good cause, considering the limitations of Rule
   (B) Objections. A person commanded to produce documents or tangible             26(b)(2)(C). The court may specify conditions for the discovery.
things or to permit inspection may serve on the party or attorney designated
in the subpoena a written objection to inspecting, copying, testing, or            (2) Claiming Privilege or Protection.
sampling any or all of the materials or to inspecting the premises—or to             (A) Information Withheld. A person withholding subpoenaed information
producing electronically stored information in the form or forms requested.        under a claim that it is privileged or subject to protection as trial-preparation
The objection must be served before the earlier of the time specified for          material must:
compliance or 14 days after the subpoena is served. If an objection is made,            (i) expressly make the claim; and
the following rules apply:                                                              (ii) describe the nature of the withheld documents, communications, or
     (i) At any time, on notice to the commanded person, the serving party         tangible things in a manner that, without revealing information itself
may move the court for the district where compliance is required for an            privileged or protected, will enable the parties to assess the claim.
order compelling production or inspection.
     (ii) These acts may be required only as directed in the order, and the
order must protect a person who is neither a party nor a party’s officer from
                                                                                                    46.00
                                                                                     (B) Information Produced. If information produced in response to a
                                                                                   subpoena is subject to a claim of privilege or of protection as
                                                                                   trial-preparation material, the person making the claim may notify any party
significant expense resulting from compliance.                                     that received the information of the claim and the basis for it. After being
                                                                                   notified, a party must promptly return, sequester, or destroy the specified
 (3) Quashing or Modifying a Subpoena.                                             information and any copies it has; must not use or disclose the information
   (A) When Required. On timely motion, the court for the district where           until the claim is resolved; must take reasonable steps to retrieve the
compliance is required must quash or modify a subpoena that:                       information if the party disclosed it before being notified; and may promptly
     (i) fails to allow a reasonable time to comply;                               present the information under seal to the court for the district where
     (ii) requires a person to comply beyond the geographical limits               compliance is required for a determination of the claim. The person who
specified in Rule 45(c);                                                           produced the information must preserve the information until the claim is
     (iii) requires disclosure of privileged or other protected matter, if no      resolved.
exception or waiver applies; or
     (iv) subjects a person to undue burden.                                       (g) Contempt.
  (B) When Permitted. To protect a person subject to or affected by a              The court for the district where compliance is required—and also, after a
subpoena, the court for the district where compliance is required may, on          motion is transferred, the issuing court—may hold in contempt a person
motion, quash or modify the subpoena if it requires:                               who, having been served, fails without adequate excuse to obey the
      (i) disclosing a trade secret or other confidential research,                subpoena or an order related to it.
development, or commercial information; or



                                         For access to subpoena materials, see Fed. R. Civ. P. 45(a) Committee Note (2013).
           Case 1:21-cv-02617-JMS-MG Document 1 Filed 10/11/21 Page 16 of 21 PageID #: 16
    INSD Pro Se Civil (unrelated to imprisonment) IFP request 4/19




                                            UNITED STATES DISTRICT COURT
                                                                       for the
                                                             Southern District of Indiana
                                                                      District of
I am currently on SSI. I was wrongfully arrested by the Chicago police
department which resulted in me having an ulcer on the bottom of my
foot from ankle cuffs.             )  Case No.
                                                                         )                  (to be filled in by the Clerk’s Office)
                                                                         )
                                 Plaintiff(s)                            )
                                                                         )
                                                                         )
                                     -v-                                 )
                                                                         )
                                                                         )
                                                                         )
                                                                         )
                                Defendant(s)
                                                                         )
                              Shedrick                                   )
                                                                         )
                                                                         )

                       10/11/2021
                              REQUEST TO PROCEED IN DISTRICT COURT WITHOUT
                                                                 PREPAYING THE FILING FEE




                                                                        NOTICE

               Federal Rule of Civil Procedure 5.2 addresses the privacy and security concerns resulting from public
               access to electronic court files. Under this rule, papers filed with the court should not contain: an
               individual’s full social security number or full birth date; the full name of a person known to be a minor;
               or a complete financial account number. A filing may include only: the last four digits of a social
               security number; the year of an individual’s birth; a minor’s initials; and the last four digits of a financial
               account number.

               Except as noted in this form, plaintiff need not send exhibits, affidavits, grievance or witness statements,
               or any other materials to the Clerk’s Office with this complaint.

               In order for your complaint to be filed, it must be accompanied by the filing fee or an application to
               proceed in forma pauperis.




                                                                                                                                      Page 1 of 5
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INSD Pro Se Civil Non-prisoner IFP request 4/19




         Answer the following questions to the best of your ability.
         Note: If you do not tell the truth, the court may dismiss your lawsuit.

         I.         Personal Information

         1)         Are you employed?                            □Yes          □ No

         2)         Are you married?                             □ Yes         □ No
                    If “Yes,” is your spouse employed?           □ Yes         □ No

         3)         Do you have any dependents that you are responsible for supporting?
                    □ Yes           □ No
                    If “Yes,” list them below:

      Name (initials for                                                              Amount of Support
      minor children only)                        Relationship to You    Age          Provided per Month

      __________________________                  __________________     ________     __________________

      __________________________                  __________________     ________     __________________

      __________________________                  __________________     ________     __________________

      __________________________                  __________________     ________     __________________

      __________________________                  __________________     ________     __________________

      __________________________                  __________________     ________     __________________


        II.        Income - If you are married, your answers must include your spouse's income.
                   (When calculating income, include any wages, salary, rent, child support, public
                   assistance, unemployment compensation, disability payments, life insurance
                   payments, pensions, annuities, workers' compensation, stock dividends and
                   interest, gifts and inheritance, or other money you receive from any source.)

        1)         State your total monthly wages or salary?                   $

        2)         Provide the name and address of your employer(s):




        3)         State your spouse's total monthly wages or salary?          $

                                                                                                           Page 2 of 5
       Case 1:21-cv-02617-JMS-MG Document 1 Filed 10/11/21 Page 18 of 21 PageID #: 18
INSD Pro Se Civil Non-prisoner IFP request 4/19



        4)         State the amount of money you have received from any other source in the last
                   twelve months, such as the sources listed above. Please attach an additional sheet
                   if necessary.

        Source of income                                                 Amount

                                                                         $

                                                                         $

        III.       Expenses - If you are married or have dependents, your expenses should also
                   include your household's expenses.
                   (When calculating household expenses, you may include groceries, clothing,
                   medical costs, utilities that are not included in your rental payments,
                   transportation, and insurance.)

        1)         Identify the following amounts that you pay per month:

                   □ Rent or             □ Mortgage         $

                   Car payment(s)                           $

                   Alimony or court-ordered child support $

                   Credit card payment(s)                   $


         2)         Do you have any other monthly expenses that you have not already listed?
                    □ Yes       □ No

                    If “Yes,” list them below:

                    Expense                                                     Amount

                                                            $

                                                            $

                                                            $




                                                                                                    Page 3 of 5
       Case 1:21-cv-02617-JMS-MG Document 1 Filed 10/11/21 Page 19 of 21 PageID #: 19
INSD Pro Se Civil Non-prisoner IFP request 4/19




         3)         What are your total monthly expenses?       $



         IV. Property - If you are married, your answers must include your spouse's property.

         1)         Do you own a car? □ Yes             □ No        If “Yes,” list car(s) below:

                    Make and Model                                  Year           Approximate
                                                                                   Current Value

                                                                                   $

                                                                                   $

         2)         Do you own your home(s)?            □ Yes       □ No

                    If “Yes,” state the approximate value(s). $

                    What is the amount of equity (assessed value of residence minus
                    outstanding mortgage balance) in the home(s)?                   $

         3)        Do you have any cash or checking, savings, or other similar accounts?
                   □ Yes        □ No

                    If “Yes,” state the total of such sums.     $

        4)         Do you own any other property of value, such as real estate, stocks, bonds,
                   trusts, or individual retirement accounts (e.g., IRA, 401 k), artwork or jewelry?

                   □ Yes                 □ No

                   If “Yes,” describe the property and the approximate value(s).




                                                                                                       Page 4 of 5
       Case 1:21-cv-02617-JMS-MG Document 1 Filed 10/11/21 Page 20 of 21 PageID #: 20
INSD Pro Se Civil Non-prisoner IFP request 4/19




        V.         Other Circumstances - Describe any other financial circumstance(s) that you
                   would like the court to consider when reviewing this petition.




               I,                       , declare that I am the plaintiff bringing this complaint. I
        declare that I am unable to prepay the fee and that I am entitled to the relief sought in
        the complaint.



        Date                                        Signature - Signed Under Penalty of Perjury




                                                                                                       Page 5 of 5
        Case 1:21-cv-02617-JMS-MG Document 1 Filed 10/11/21 Page 21 of 21 PageID #: 21
AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action(Page 3)

                             Federal Rule of Civil Procedure 45 (c), (d), (e), and (g) (Effective 12/1/13)
(c) Place of Compliance.                                                                (ii) disclosing an unretained expert’s opinion or information that does
                                                                                   not describe specific occurrences in dispute and results from the expert’s
  (1) For a Trial, Hearing, or Deposition. A subpoena may command a                study that was not requested by a party.
person to attend a trial, hearing, or deposition only as follows:                     (C) Specifying Conditions as an Alternative. In the circumstances
   (A) within 100 miles of where the person resides, is employed, or               described in Rule 45(d)(3)(B), the court may, instead of quashing or
regularly transacts business in person; or                                         modifying a subpoena, order appearance or production under specified
   (B) within the state where the person resides, is employed, or regularly        conditions if the serving party:
transacts business in person, if the person                                             (i) shows a substantial need for the testimony or material that cannot be
      (i) is a party or a party’s officer; or                                      otherwise met without undue hardship; and
      (ii) is commanded to attend a trial and would not incur substantial               (ii) ensures that the subpoenaed person will be reasonably compensated.
expense.
                                                                                   (e) Duties in Responding to a Subpoena.
 (2) For Other Discovery. A subpoena may command:
   (A) production of documents, electronically stored information, or                (1) Producing Documents or Electronically Stored Information. These
tangible things at a place within 100 miles of where the person resides, is        procedures apply to producing documents or electronically stored
employed, or regularly transacts business in person; and                           information:
   (B) inspection of premises at the premises to be inspected.                        (A) Documents. A person responding to a subpoena to produce documents
                                                                                   must produce them as they are kept in the ordinary course of business or
(d) Protecting a Person Subject to a Subpoena; Enforcement.                        must organize and label them to correspond to the categories in the demand.
                                                                                      (B) Form for Producing Electronically Stored Information Not Specified.
 (1) Avoiding Undue Burden or Expense; Sanctions. A party or attorney              If a subpoena does not specify a form for producing electronically stored
responsible for issuing and serving a subpoena must take reasonable steps          information, the person responding must produce it in a form or forms in
to avoid imposing undue burden or expense on a person subject to the               which it is ordinarily maintained or in a reasonably usable form or forms.
subpoena. The court for the district where compliance is required must                (C) Electronically Stored Information Produced in Only One Form. The
enforce this duty and impose an appropriate sanction—which may include             person responding need not produce the same electronically stored
lost earnings and reasonable attorney’s fees—on a party or attorney who            information in more than one form.
fails to comply.                                                                      (D) Inaccessible Electronically Stored Information. The person
                                                                                   responding need not provide discovery of electronically stored information
 (2) Command to Produce Materials or Permit Inspection.                            from sources that the person identifies as not reasonably accessible because
   (A) Appearance Not Required. A person commanded to produce                      of undue burden or cost. On motion to compel discovery or for a protective
documents, electronically stored information, or tangible things, or to            order, the person responding must show that the information is not
permit the inspection of premises, need not appear in person at the place of       reasonably accessible because of undue burden or cost. If that showing is
production or inspection unless also commanded to appear for a deposition,         made, the court may nonetheless order discovery from such sources if the
hearing, or trial.                                                                 requesting party shows good cause, considering the limitations of Rule
   (B) Objections. A person commanded to produce documents or tangible             26(b)(2)(C). The court may specify conditions for the discovery.
things or to permit inspection may serve on the party or attorney designated
in the subpoena a written objection to inspecting, copying, testing, or            (2) Claiming Privilege or Protection.
sampling any or all of the materials or to inspecting the premises—or to             (A) Information Withheld. A person withholding subpoenaed information
producing electronically stored information in the form or forms requested.        under a claim that it is privileged or subject to protection as trial-preparation
The objection must be served before the earlier of the time specified for          material must:
compliance or 14 days after the subpoena is served. If an objection is made,            (i) expressly make the claim; and
the following rules apply:                                                              (ii) describe the nature of the withheld documents, communications, or
     (i) At any time, on notice to the commanded person, the serving party         tangible things in a manner that, without revealing information itself
may move the court for the district where compliance is required for an            privileged or protected, will enable the parties to assess the claim.
order compelling production or inspection.                                           (B) Information Produced. If information produced in response to a
     (ii) These acts may be required only as directed in the order, and the        subpoena is subject to a claim of privilege or of protection as
order must protect a person who is neither a party nor a party’s officer from      trial-preparation material, the person making the claim may notify any party
significant expense resulting from compliance.                                     that received the information of the claim and the basis for it. After being
                                                                                   notified, a party must promptly return, sequester, or destroy the specified
 (3) Quashing or Modifying a Subpoena.                                             information and any copies it has; must not use or disclose the information
   (A) When Required. On timely motion, the court for the district where           until the claim is resolved; must take reasonable steps to retrieve the
compliance is required must quash or modify a subpoena that:                       information if the party disclosed it before being notified; and may promptly
     (i) fails to allow a reasonable time to comply;                               present the information under seal to the court for the district where
     (ii) requires a person to comply beyond the geographical limits               compliance is required for a determination of the claim. The person who
specified in Rule 45(c);                                                           produced the information must preserve the information until the claim is
     (iii) requires disclosure of privileged or other protected matter, if no      resolved.
exception or waiver applies; or
     (iv) subjects a person to undue burden.                                       (g) Contempt.
  (B) When Permitted. To protect a person subject to or affected by a              The court for the district where compliance is required—and also, after a
subpoena, the court for the district where compliance is required may, on          motion is transferred, the issuing court—may hold in contempt a person
motion, quash or modify the subpoena if it requires:                               who, having been served, fails without adequate excuse to obey the
      (i) disclosing a trade secret or other confidential research,                subpoena or an order related to it.
development, or commercial information; or



                                         For access to subpoena materials, see Fed. R. Civ. P. 45(a) Committee Note (2013).
